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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

UNITED STATES OF AMERICA

vs.                                                Case No: 8:21-cr-218-CEH-AAS

BRANDON WELCH                           /

                                  ORDER OF DETENTION

      This cause came on for hearing following defendant's appearance upon a writ

of habeas corpus ad prosequendum, on an Indictment charging him with assault in

aid of racketeering activity, in violation of Title 18 U.S.C. ' 1959(a)(3). Since the

defendant is currently incarcerated serving a state sentence, he is ineligible for

release on bond and is detained. Defendant does not contest detention at this time.

Should the defendant=s situation change and he becomes eligible for release, a motion

for reconsideration of the detention order may be filed on his behalf. It is therefore,

      ORDERED:

      The defendant is committed to the custody of the Attorney General or his

designated representative for confinement in a corrections facility separate, to the

extent practicable, from persons awaiting or serving sentences or being held in

custody pending appeal. The defendant shall be afforded a reasonable opportunity for

private consultation with defense counsel. On order of a court of the United States or

on request of an attorney for the Government, the person in charge of the corrections
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facility shall deliver the defendant to the United States Marshal for the purpose of

an appearance in connection with a court proceeding.

      ORDERED this        18th     day of August, 2021.
